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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                      NORTHERN DIVISION

TERMAINE L. BRAXTON                                          PLAINTIFF
#650505

v.                           No. 3:20-cv-13-DPM

JACKSON COUNTY DETENTION
CENTER; DAVID LUCAS, Sheriff,
Jackson County Detention Center;
NICOLE CARTER, Captain, Jackson
County Detention Center; and
JESS FOUST, Lieutenant, Jackson
County Detention Center                                    DEFENDANTS

                                  ORDER
     1. The Court withdraws the reference.
     2. Braxton hasn't filed an amended complaint; and the time to do
so has passed.     Doc. 5.    His complaint will therefore be dismissed
without prejudice. LOCAL RULE 5.5(c)(2). An in forma pauperis appeal
from this Order and accompanying Judgment would not be taken in
good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.

                                                      ;;
                                        D.P. Marshall Jr.
                                        United States District Judge
